Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 3 Page 1 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 3 Page 2 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 3 Page 3 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 3 Page 4 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 3 Page 5 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 3 Page 6 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 3 Page 7 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 3 Page 8 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                               Part 3 Page 9 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 10 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 11 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 12 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 13 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 14 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 15 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 16 of 25
se 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   De
                            Part 3 Page 17 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 18 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 19 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 20 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 21 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 22 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 23 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 24 of 25
Case 8:21-bk-11710-ES   Doc 135-2 Filed 07/08/22 Entered 07/08/22 13:37:19   Desc
                              Part 3 Page 25 of 25
